
This is my opinion in the present case. The decree ought, I think, to be reversed, and an account taken in order to a final decree conforming to these principles. While I agree with two of the Judges, that relief in this instance, ought to be granted, I go beyond them as to the measure of that relief. In so doing, I, of course, concur with them, as to their measure, and unite with them in reversing the decree to the extent proposed by them. The decree drawn up by them, and to which I accede, as aforesaid, is in the following terms.
The Court is of opinion that the decree of the Chancery Court is erroneous ; which therefore is reversed, with *costs; and, this Court, proceeding &amp;c., it is farther adjudged, ordered and decreed, that the Injunction be reinstated and made perpetual as to the judgments sought to be injoined, and that the appellee be also perpetually in-joined from instituting or prosecuting any future suit or suits, for or on account of the failure of Morgan Tomkies to return the execution in the bill and proceedings.mentioned.
